
127 S.Ct. 933 (2007)
Davidson MOMAH, petitioner,
v.
Cari M. DOMINGUEZ, Chair, Equal Employment Opportunity Commission, et al.
No. 06-368.
Supreme Court of United States.
January 8, 2007.
On petition for writ of certiorari to the United States Court of Appeals for the Sixth Circuit. Petition for writ of certiorari granted. Judgment vacated, and case remanded to the United States Court of Appeals for the Sixth Circuit for further consideration in light of Burlington N. &amp; S.F.R. Co. v. White, 548 U.S. ___, 126 S.Ct. 2405, 165 L.Ed.2d 345 (2006).
